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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

         Robert Dedmon,                 §    CIVIL ACTION NO.
                    Plaintiff,          §    4:21-cv-03371
                                        §
                                        §    JUDGE CHARLES ESKRIDGE
         vs.                            §
                                        §    Jury Demand
         Shell Exploration &            §
         Production Company and         §
         Shell Trading Services         §
         Company,                       §
                     Defendants.        §

          PLAINTIFF ROBERT DEDMON’S FIRST AMENDED WITNESS LIST

   Robert Dedmon may call any witness listed in Defendants’ witness list. This

amended witness list does not add any new witnesses other than two witnesses listed

on Defendants’ Witness List [ECF Doc. 63].
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                      compensatory damages:
                     before and after witnesses
NO.         WITNESS NAME                   WITNESS ADDRESS
      Keyani Adigun             2448 Baldwin Crescent NE
                                Washington, D.C. 20018

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      sister
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination

NO.        WITNESS NAME                           WITNESS ADDRESS
      Brandon Crutchfield              8700 Stacy Road #5119
                                       McKinney, Texas 75070

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      friend since high school
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination

NO.         WITNESS NAME                          WITNESS ADDRESS
      Brushaud Callis                  12110 Upton Park
                                       San Antonio, Texas 78253

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      friend since college
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination
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NO.         WITNESS NAME                           WITNESS ADDRESS
      Brooke Dedmon                    1 Acosta Valley Drive
                                       Missouri City, Texas 77459

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      wife
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination

NO.         WITNESS NAME                          WITNESS ADDRESS
      Karen Dedmon                     5303 Amber Sky Lane
                                       Rosharon, Texas 77583

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      mother
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination

NO.         WITNESS NAME                          WITNESS ADDRESS
      Robert Dedmon, Jr.               5303 Amber Sky Lane
                                       Rosharon, Texas 77583

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      father
      topics: one of the witnesses who will collectively address the non-wage
      harm to his son, including comparison of his son before and after learning
      of the discrimination
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NO.         WITNESS NAME                           WITNESS ADDRESS
      Robert Dedmon IV                 1 Acosta Valley Drive
                                       Missouri City, Texas 77459

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      plaintiff
      topics: one of the witnesses who will collectively address the non-wage
      harm to him, including comparison of how he was before and after
      learning of the discrimination

NO.         WITNESS NAME                           WITNESS ADDRESS
      James Ledbetter                  6307 Flewellen Falls Lane
                                       Fulshear, Texas 77441

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      friend, former Shell employee
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination

NO.         WITNESS NAME                          WITNESS ADDRESS
      Shara McKinnon (Brown)           20462 Avelignese Way
                                       Tomball, Texas 77377

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      family friend
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination
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NO.         WITNESS NAME                            WITNESS ADDRESS
      Jamal Porter                     19808 Eire Drive
                                       Pflugerville, Texas 78660

                                       Simon Property Group
                                       2901 South Capital of Texas Highway
                                       Austin, Texas 78746

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      friend since college
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination

NO.        WITNESS NAME                             WITNESS ADDRESS
      Brandon Saunders                 Bell’s Life Enhancement
                                       6302 Highway 6, Suite K
                                       Missouri City, Texas 77459

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      friend
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon, including comparison of Mr. Dedmon before and
      after learning of the discrimination

NO.         WITNESS NAME                          WITNESS ADDRESS
      Jasmine Turner                   Alchemy Counseling and Wellness, PLLC
                                       1011 Augusta Drive, Ste #107
                                       Houston, Texas 77057

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      treating counselor
      topics: one of the witnesses who will collectively address the non-wage
      harm to Mr. Dedmon; treatment; teaching jury about anxiety, panic
      attacks, cumulative trauma; explanation of the subjects identified in
      expert disclosures for her
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                           other trial witnesses:
             liability, economic damages, punitive damages
NO.          WITNESS NAME                       WITNESS ADDRESS
      Gentill Abdulla                9613 Bayou Brook Street
                                     Houston, Texas 77063

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell power trading analyst who reported to Luis Lugo and worked
      with inside sales team including Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational and pay structures and
      operations; his experience and observations related to his work and
      position; comparative skill of those he worked with on the inside sales
      team; observed differential treatment of workers based on protected
      characteristics

NO.         WITNESS NAME                          WITNESS ADDRESS
      Gaurdie E. Banister              2415 San Felipe Street #9
                                       Houston, Texas 77019-2509

      o Live         o Deposition

      o Fact         o Expert   o Record Custodian

      former Shell employee; director with several organizations, such as
      Enbridge, Dow, Tyson Foods, and Russell Reynolds Associates; CEO of
      Different Points of View; Chairman of Tyson Foods, Inc.’s Compensation
      and Leadership Development Committee
      topics: basic background; history of race discrimination at Shell based on
      observation and experience; his quote in the Original Petition and Jury
      Demand filed in this case; equitable compensation systems; preventing
      and stopping unlawful pay disparities
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NO.         WITNESS NAME                           WITNESS ADDRESS
      Jim Barker                        Shell
                                        150 N. Dairy Ashford
                                        Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert    o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; his own pay and job grades; his experience and
      observations related to his work and position on the inside sales team;
      existence and location of missing documents

NO.          WITNESS NAME                          WITNESS ADDRESS
      Lisa Billington                   3000 Bissonnet Street, Apt. 7110
                                        Houston, Texas 77005

      o Live         o Deposition
      o Fact         o Expert    o Record Custodian
      former human resources professional for Shell
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; pre-employment process from offer to first
      day of payroll; involvement and knowledge about 2014 hiring process
      related to the job duties position that Mr. Dedmon was ultimately hired
      for; company promises, policies, and requirements concerning diversity,
      equity, and inclusion; relationship of different entities as relevant to this
      case; existence and location of missing documents
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NO.         WITNESS NAME                           WITNESS ADDRESS
      Beth Bowman                      Targa
                                       811 Louisiana, Suite 2100
                                       Houston, Texas 77002

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Senior Vice President for Shell and direct supervisor for Sri
      Rangan
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; her own pay and job grades; her experience and
      observations related to her work and position; involvement and knowledge
      about 2014 hiring process related to the job duties position that Mr.
      Dedmon was ultimately hired for; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; observed differential treatment
      of workers based on protected characteristics; existence and location of
      missing documents

NO.         WITNESS NAME                           WITNESS ADDRESS
      Robert Dedmon                    1 Acosta Valley Drive
                                       Missouri City, Texas 77459

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      plaintiff
      topics: all topics concerning liability and damages
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NO.         WITNESS NAME                           WITNESS ADDRESS
      Michael Deley                    Shell
                                       150 N. Dairy Ashford
                                       Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; his own pay and job grades; his experience and
      observations related to his work and position on the inside sales team; the
      events surrounding the need to fill a vacant position on the team in 2021;
      existence and location of missing documents

NO.        WITNESS NAME                           WITNESS ADDRESS
      Megan Foltz (Rozelle)            409 W. 24th Street
                                       Houston, Texas 77008

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell human resources account manager
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; involvement and knowledge
      about 2014 and 2015 hiring process related to the job duties positions that
      Mr. Dedmon was ultimately offered; existence and location of missing
      documents
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NO.         WITNESS NAME                           WITNESS ADDRESS
      Patrick Frnka                   Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090


      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; his own pay and job grades; his experience and
      observations related to his work and position on the inside sales team; the
      events surrounding the need to fill a vacant position on the team in 2021;
      existence and location of missing documents

NO.         WITNESS NAME                          WITNESS ADDRESS
      Jennifer Hartnett               address unknown
                                      c/o Marlene Williams
                                      Ogletree, Deakins, Nash, Smoak &
                                      Stewart, P.C.
                                      500 Dallas Street, Suite 2100 Houston,
                                      Texas 77002
                                      (713) 655-0855

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell manager
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; involvement and knowledge
      about 2014 and 2015 hiring process related to the job duties positions that
      Mr. Dedmon was ultimately offered; her own pay and job grades; company
      promises, policies, and requirements concerning diversity, equity, and
      inclusion; relationship of different entities as relevant to this case;
      differential treatment of workers based on protected characteristics;
      existence and location of missing documents
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NO.         WITNESS NAME                         WITNESS ADDRESS
      Tim Hood                        Mercuria Energy America
                                      20 Greenway Plaza #650
                                      Houston, Texas 77046

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell manager over power trading
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational and pay structures and
      operations; performance metrics and revenue or profit tracking; his own
      pay and job grades; his experience and observations related to his work
      and position; his observations concerning unequal pay

NO.         WITNESS NAME                           WITNESS ADDRESS
      Doug Hund                       Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; power versus gas sales; his own pay and job grades;
      his experience and observations related to his work and position on the
      inside sales team; the events surrounding the need to fill a vacant position
      on the team in 2021; existence and location of missing documents
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NO.         WITNESS NAME                           WITNESS ADDRESS
      Sarah Hutnek                     1217 W. 16th Street
                                       Houston, Texas 77008

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell human resources consultant
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; involvement and knowledge
      about response to EEOC charge of discrimination; existence and location
      of missing documents

NO.         WITNESS NAME                           WITNESS ADDRESS
      Ryan Kolkmann                    Shell
                                       150 N. Dairy Ashford
                                       Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; his own pay and job grades; his experience and
      observations related to his work and position on the inside sales team; the
      events surrounding his exit and so the need to fill a vacant position on the
      team in 2021; existence and location of missing documents
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NO.         WITNESS NAME                          WITNESS ADDRESS
      James Ledbetter                 6307 Flewellen Falls Lane
                                      Fulshear, Texas 77441

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell employee
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational and pay structures and
      operations; his own pay and job grades; his experience and observations
      related to his work and position; the internal resolution process; observed
      differential treatment of workers based on protected characteristics;
      existence and location of missing documents

NO.         WITNESS NAME                         WITNESS ADDRESS
      Meredith Lilly                  Mercuria Energy America
                                      20 Greenway Plaza #650
                                      Houston, Texas 77046

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; her own pay and job grades; her experience and
      observations related to her work and position on the inside sales team; her
      offer of employment at JG5 for the same job duties roles later offered to
      Mr. Dedmon; existence and location of missing documents
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NO.         WITNESS NAME                         WITNESS ADDRESS
      Grace Loh                       150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee applicant for the open 2021 raise that was given to Michael
      Deley
      topics: basic background, the process surrounding her application and
      overall process concerning same

NO.         WITNESS NAME                         WITNESS ADDRESS
      Luis Lugo                       13802 Majestic Spring Lane
                                      Humble, Texas 77396

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell manager over energy trading; current Vice President and
      Head of ERCOT Trading for Mercuria Energy America
      topics: topics addressed in his declaration; basic background; company
      policies and practices; discrimination and pay equity training, supervision,
      enforcement; discrimination prevention and enforcement; organizational
      and pay structures and operations; performance metrics and revenue or
      profit tracking; his own pay and job grades; his experience and
      observations related to his work and position; observed differential
      treatment of workers based on protected characteristics; existence and
      location of missing documents

NO.         WITNESS NAME                           WITNESS ADDRESS
      Logan Luzzi                     Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; his own pay and job grades; his experience and
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      observations related to his work and position on the inside sales team;
      existence and location of missing documents

NO.         WITNESS NAME                         WITNESS ADDRESS
      Sean Matthews                   30232 Post Oak Run
                                      Magnolia, Texas 77355

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell energy trader; current head of Midwest Sales at Mercuria
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational and pay structures and
      operations; performance metrics and revenue or profit tracking; his own
      pay and job grades; his experience and observations related to his work
      and position; observed differential treatment of workers based on
      protected characteristics; his reports about pay disparities to Glenn
      Wright; existence and location of missing documents

NO.         WITNESS NAME                           WITNESS ADDRESS
      Laura Moses                     Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee relations advisor
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; involvement and knowledge
      about response to EEOC charge of discrimination; existence and location
      of missing documents
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NO.          WITNESS NAME                          WITNESS ADDRESS
      Priscilla Partida               Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee and later manager on the inside sales team where Mr.
      Dedmon worked
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; her own pay and job grades; her experience and
      observations related to her work and position on the inside sales team;
      observed and experienced differential treatment of workers based on
      protected characteristics; existence and location of missing documents

NO.         WITNESS NAME                         WITNESS ADDRESS
      Teri Ramsey                     3003 Eagle Ridge Way
      (Cornelius-Olmen)               Houston, Texas 77084

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell human resources manager for Shell
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; involvement and knowledge
      about 2014 and 2015 hiring process related to the job duties positions that
      Mr. Dedmon was ultimately offered; existence and location of missing
      documents
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NO.          WITNESS NAME                         WITNESS ADDRESS
      Srikala (Sri) Rangan             30 Dorthea Lane
                                       Sugar Land, Texas 77479
      o Live         o Deposition
      o Fact         o Expert    o Record Custodian
      former Shell hiring manager and later Vice President
      topics: topics addressed in her declaration; basic background; company
      policies and practices; discrimination and pay equity training, supervision,
      enforcement; discrimination prevention and enforcement; company
      promises, policies, and requirements concerning diversity, equity, and
      inclusion; relationship of different entities as relevant to this case;
      organizational, pay, account, and account assignment structures and
      operations; performance metrics and revenue, profit, and gross margin
      tracking; her own pay and job grades; her experience and observations
      related to her work and position; observed differential treatment of
      workers based on protected characteristics; involvement and knowledge
      about 2014 and 2015 hiring process related to the job duties position that
      Mr. Dedmon was ultimately hired for and then moved to; direct evidence
      of race discrimination in this case; her EEO report to Shell; her
      knowledge, observation, and experience concerning all of the above;
      existence and location of missing documents

NO.         WITNESS NAME                          WITNESS ADDRESS
      Chris Riley                      204 Vincent Street
                                       Houston, Texas 77009

      o Live         o Deposition
      o Fact         o Expert    o Record Custodian
      Shell employee on Defendants’ witness list
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; organizational, pay, account, and
      account assignment structures and operations; performance metrics and
      revenue, profit, and gross margin tracking; her own pay and job grades;
      existence and location of missing documents
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NO.         WITNESS NAME                         WITNESS ADDRESS
      Raif Rucker                     204 Vincent Street
                                      Houston, Texas 77009

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; his own pay and job grades; his experience and
      observations related to his work and position on the inside sales team;
      observed and experienced differential treatment of workers based on
      protected characteristics; existence and location of missing documents

NO.         WITNESS NAME                           WITNESS ADDRESS
      Robyn L. Sutton                 Shell
                                      1000 Main Street
                                      Houston, Texas 77010

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell Trading & Supply human resources manager
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; involvement and knowledge
      about 2014 and 2015 hiring process related to the job duties positions that
      Mr. Dedmon was ultimately offered; existence and location of missing
      documents
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NO.         WITNESS NAME                           WITNESS ADDRESS
      Michael Tickle                  Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell manager for the inside sales team where Mr. Dedmon worked
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; his own pay and job grades; his experience and
      observations related to his work and position on the inside sales team; the
      events surrounding the need to fill a vacant position on the team in 2021;
      potential falsification of performance data; existence and location of
      missing documents

NO.         WITNESS NAME                           WITNESS ADDRESS
      Ken Ueng                        Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      gross margin tracking; his own pay and job grades; his experience and
      observations related to his work and position on the inside sales team;
      existence and location of missing documents
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NO.         WITNESS NAME                          WITNESS ADDRESS
      Erin Verdon                     Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell Trading and Supply Vice President of Human Resources who signed
      employment offer letter for Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; involvement and knowledge
      about 2014 hiring process related to the job duties positions that Mr.
      Dedmon was ultimately offered; existence and location of missing
      documents

NO.         WITNESS NAME                          WITNESS ADDRESS
      D’Andra Wallace                 Total Energies
                                      1201 Louisiana Street, Suite 1800
                                      Houston, Texas 77002

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      former Shell employee who worked with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational and pay structures and
      operations; her own pay and job grades; her experience and observations
      related to her work and position; observed and experienced differential
      treatment of workers based on protected characteristics; her experience
      and observations related to her work with Mr. Dedmon
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NO.        WITNESS NAME                            WITNESS ADDRESS
      Kendra Williams                 Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Shell recruiter
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; company promises, policies, and
      requirements concerning diversity, equity, and inclusion; relationship of
      different entities as relevant to this case; involvement and knowledge
      about 2014 hiring process related to the job duties positions that Mr.
      Dedmon was ultimately offered; existence and location of missing
      documents

NO.         WITNESS NAME                         WITNESS ADDRESS
      Glenn T. Wright                 Shell
                                      150 N. Dairy Ashford
                                      Houston, Texas 77090

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Current SVP for Shell
      topics: Shell employee on the inside sales team with Mr. Dedmon
      topics: basic background; company policies and practices; discrimination
      and pay equity training, supervision, enforcement; discrimination
      prevention and enforcement; organizational, pay, customer account, and
      account assignment structures and operations; performance metrics and
      revenue or profit tracking; his own pay and job grades; his experience and
      observations related to his work and position; observed differential
      treatment of workers based on protected characteristics; reports he
      received about pay disparities based on race; relationship of different
      entities as relevant to this case; Sri Rangan’s disclosure of discrimination
      to Mr. Dedmon and his negative reaction to same; existence and location of
      missing documents
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                       post-verdict witnesses:
                           attorneys’ fees
NO.         WITNESS NAME                     WITNESS ADDRESS
      Amy E. Gibson              Gibson Wiley PLLC
                                 1500 Jackson Street #109
                                 Dallas, Texas 75201-4923

      o Live         o Deposition
      o Fact         o Expert    o Record Custodian
      Attorney-in-Charge and counsel of record in this civil action for Robert
      Dedmon. She is expected to testify on attorneys’ fees.

NO.        WITNESS NAME                           WITNESS ADDRESS
      Andrew Golub                     Dow Golub Remels & Gilbreath, PLLC
                                       2700 Post Oak Boulevard, Suite 1750
                                       Houston, Texas 77056

      o Live         o Deposition
      o Fact         o Expert    o Record Custodian
      He is expected to testify as an expert on attorneys’ fees.

NO.        WITNESS NAME                           WITNESS ADDRESS
      Amanda C. Hernandez              AH Law, PLLC
                                       5718 Westheimer, Suite 1000
                                       Houston, Texas 77057

      o Live         o Deposition
      o Fact         o Expert    o Record Custodian
      Of counsel and counsel of record in this civil action for Robert Dedmon.
      She is expected to testify on attorneys’ fees.


NO.         WITNESS NAME                           WITNESS ADDRESS
      Brian Sanford                    Sanford Firm
                                       Attorneys at Law
                                       1910 Pacific Avenue, 15th Floor
                                       Dallas, Texas 75201
      o Live         o Deposition
      o Fact         o Expert    o Record Custodian
      He is expected to testify as an expert on attorneys’ fees.
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NO.         WITNESS NAME                          WITNESS ADDRESS
      David L. Wiley                  Gibson Wiley PLLC
                                      1500 Jackson Street #109
                                      Dallas, Texas 75201-4923

      o Live         o Deposition
      o Fact         o Expert   o Record Custodian
      Of counsel and counsel of record in this civil action for Robert Dedmon. He
      is expected to testify on attorneys’ fees.
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Date: March 6, 2025                   Respectfully submitted,

                                      /s/ Amy Gibson

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                                      Southern District Bar No. 20147
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                                      Southern District Bar No. 34134
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